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                     UNITED STATES DISTRICT COURT
                       DISTRICT OF MASSACHUSETTS

                                   )
JANICE WALKER,                     )
          Plaintiff,               )
                                   )        Civil Action No.
             v.                    )        18-11046-NMG
                                   )
WORLD TRAVEL HOLDING, INC.,        )
          Defendant.               )
                                   )
                                   )

                                 ORDER

GORTON, J.

     1.      The motion for leave to proceed in forma pauperis is

ALLOWED.

     2.       The Clerk shall issue a summons.    The plaintiff shall

serve the summons, complaint, and this order on the defendant in

accordance with Rule 4 of the Federal Rules of Civil Procedure

and Local Rule 4.1.    Service must be completed within 90 days of

the date of this order.

     3.      Because the plaintiff is proceeding in forma pauperis,

she may elect to have service completed by the United States
Marshals Service (“USMS”).    If the plaintiff chooses to have

service completed by the USMS, she shall provide the agency with

all papers for service on the defendant and a completed USM-285

form for each party to be served.      The USMS shall complete

service as directed by plaintiff with all costs of service to be

advanced by the United States.     The Clerk shall provide the

plaintiff with forms and instructions for service.
So ordered.

                                /s/ Nathaniel M. Gorton
                               Nathaniel M. Gorton
                               United States District Judge
Dated: 5/30/18
